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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   COLLEEN PARRIS,                                    CASE NO. C19-0128-JCC
10                            Plaintiff,                MINUTE ORDER
11           v.

12   JACOBS ENGINEERING GROUP INC,

13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the parties’ stipulated motion for leave to conduct
18   limited discovery outside the discovery period (Dkt. No. 52). Having thoroughly considered the
19   motion and the relevant record, and finding good cause, the Court hereby GRANTS the motion
20   and ORDERS:
21          1. The parties may conduct the following, and only the following, limited discovery past
22                the current discovery cutoff:
23                   a. The deposition of Jay Hueter on October 20, 2020;
24                   b. The deposition of Connie Krier on October 27, 2020;
25                   c. The deposition of Jonathon Addision on October 30, 2020;
26                   d. The deposition of Karen Takagi on November 3, 2020;


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 1               e. The deposition of Francoise Stotler on November 5, 2020;

 2               f. The deposition of Jim Pace on November 6, 2020;

 3               g. The deposition of Leon Maday on November 9, 2020;

 4               h. The deposition of Kevin Rowland on November 10, 2020; and

 5               i. The deposition of Christopher Simms on November 10, 2020.

 6        2. The trial date and all other deadlines remain in place.

 7        DATED this 21st day of October 2020.

 8                                                       William M. McCool
                                                         Clerk of Court
 9
                                                         s/Tomas Hernandez
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                                                         Deputy Clerk
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